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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

MARIAM YAHIA IBRAHEEM ISHAG,
individual and as parent and guardian
of her minor children Mn. W. and Ma. W.,

                Plaintiffs,

v.                                                    CIVIL ACTION NO.:

REPUBLIC OF SUDAN,
c/o Ministry of External Affairs,

                Defendant.
                                              /

                                          COMPLAINT

       Comes now the Plaintiff, Mariam Yahia Ibraheem Ishag, individually and in her capacity

as parent and guardian of her minor children, Mn. W. and Ma. W., (collectively referred to

herein as “Ishag”) and brings suit against the Republic of Sudan (referred to herein as “Sudan”)

pursuant to the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1602 et seq., for

injuries suffered by her and each of them as a result of Sudan’s unlawful acts of hostage taking,

torture, and other violations of the FSIA and would show as follows:

                                             PARTIES

       1.       Plaintiff Mariam Ishag is a Sudanese citizen and a resident of the State of

Virginia.

       2.       Ms. Ishag was married to Daniel Wani, a U.S. Citizen, prior to their pending

divorce.

       3.       Plaintiff Mn. W., a minor child, is the son of Ms. Ishag and Mr. Wani and was

born to them while they were husband and wife. Mn. W. was, at all times relevant to this
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complaint, an American citizen by virtue of the citizenship and residency of his father. Ms. Ishag

is the custodial parent and guardian of her son Mn. W.

         4.       Plaintiff Ma.W., a minor child, is the daughter of Ms. Ishag and Mr. Wani and was

born to them while they were husband and wife. Ma. W. was at all times relevant to this

complaint an American citizen. Ms. Ishag is the custodial parent and guardian of her daughter

Ma. W.

         5.       Sudan is a foreign sovereign that was designated a state sponsor of terrorism

pursuant to Section 6(j) of the Export Administration Act of 1979 (50 U.S.C. App § 2405(j)).

Sudan was so designated during the occurrence of the matters described in this complaint, and

continued to be so designated until December 2020.

                                      JURISDICTION AND VENUE

         6.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1330 and 1331 and 28 U.S.C.

§ 1605A.

         7.       This Court has jurisdiction to hear a claim against Sudan because Sudan was a

foreign sovereign designated as a state sponsor of terrorism at all times described in this

complaint. See 28 U.S.C. §1605A(a)(2)(A)(i)(I). Further, although Sudan is no longer

designated as a state sponsor of terrorism at the time of this claim, jurisdiction is proper if the

foreign state “either remains so designated [as a state sponsor of terror] when the claim is filed

under this section or was so designated within the 6-month period before the claim is filed under

this section.” Id.

         8.       This action falls within the “terrorism exception” to sovereign immunity under the

FSIA, 28 U.S.C. § 1605A(a)(1), which provides in relevant part that “[a] foreign state shall not

be immune from the jurisdiction of courts of the United States . . . in any case . . . in which
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money damages are sought against a foreign state for personal injury or death that was caused by

an act of torture . . . [or] hostage taking . . . if such act . . . is engaged in by an official, employee,

or agent of such foreign state while acting within the scope of his or her office, employment, or

agency.”

        9.       Under the terrorism exception to the FSIA, torture is defined to “have the

meaning given . . . in section 3 of the Torture Victim Protection Act of 1991 (28 U.S.C. 1350

note).” 28 U.S.C. § 1605A(h)(7). The Torture Victim Protection Act defines torture as “any act,

directed against an individual in the offender’s custody or physical control, by which severe pain

or suffering (other than pain or suffering arising only from or inherent in, or incidental to, lawful

sanctions), whether physical or mental, is intentionally inflicted on that individual for such

purposes as obtaining from that individual or a third person information or a confession,

punishing that individual for an act that individual or a third person has committed or is

suspected of having committed, intimidating or coercing that individual or a third person, or for

any reason based on discrimination of any kind.” Pub. L. No. 102-256, § 3(b)(1), 106 Stat. 73, 73

(1992), codified at 28 U.S.C. § 1350 (note).

        10.      Under the FSIA, hostage taking is defined as “seiz[ing] or detain[ing] and

threaten[ing] to kill, to injure or to continue to detain another person . . . in order to compel a

third party, namely, a State, an international intergovernmental organization, a natural or juridical

person or a group of persons, to do or abstain from doing any act as an explicit or implicit

condition for the release of the hostage.” 34 U.N. GAOR Supp. No. 46, at 345 (TIAS 11081).

        11.      This suit seeks money damages against Sudan and its agencies and

instrumentalities for injury and harm caused to the Plaintiffs, and each of them, by Sudan’s acts

of terrorism, torture, and hostage taking.
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       12.     These acts of terrorism, torture, and hostage taking were perpetrated by officials,

members, agents and instrumentalities of Sudan while acting within the scope of their official

capacities.

       13.     Plaintiffs Mn. W. and Ma. W. are both U.S. citizens and nationals within the

meaning of the FSIA, and were such at the time of the acts of torture and hostage taking alleged

herein. See 28 U.S.C. § 1605A(a)(ii) (“The court shall hear a claim under [the FSIA] if . . . the

claimant or the victim was, at the time the act occurred a national of the United States.’)

       14.     Plaintiff Ms. Ishag is a Sudanese national and was a Sudanese national at the time

the acts of torture occurred. This Court has jurisdiction over Ms. Ishag’s claims pursuant to 28

U.S.C. § 1605A(a)(2)(A)(ii) because she is a family member of U.S. citizen victims. See Owens

v. Republic of Sudan, 864 F. 3d 751, 809 (D.C. Cir. 2017).

       15.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(f)(4).

                                      STATEMENT OF FACTS
                                         BACKGROUND

       16.     Ms. Ishag was born November 3, 1987 in El-Gadarif, in a refugee camp, and is a

Sudanese national currently living in Virginia.

       17.     Ms. Ishag was raised by her mother, who was an Ethiopian Orthodox Christian.

Her father, a Sudanese Muslim, was absent from her life.

       18.     Ms. Ishag was baptized into the Orthodox Church and was raised as an Orthodox

Christian. She attended school at a Catholic education center in El-Gadarif. Ms. Ishag finished

Catholic school in 2004 and moved to Khartoum in June 2005 to attend college at Khartoum

University where she received her degree as a medical doctor. Ms. Ishag was unable to complete

her post-graduate medical training because of the events described in this complaint.
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          19.   While in college, Ms. Ishag converted to Catholicism and, between 2005 and

2011, devoted much of her time working in various Catholic charities and volunteering at the

church.

          20.   In 2010, she met her husband, Mr. Wani, who was a U.S. citizen. Ms. Ishag and

Mr. Wani were married in St. Matthew’s Cathedral in Khartoum on December 19, 2011.

          21.   Ms. Ishag and Mr. Wani had their first child, Mn.W., on November 25, 2012.

          22.   During this time, in addition to Ms. Ishag’s work with the church and Catholic

charities, she started a business farming land that she inherited from her mother. In addition to

her farming business, Ms. Ishag operated a business renting space in a marketplace to vendors.

She used the proceeds from farming and rentals to buy two additional properties and start a

beauty salon business.

          23.   By September 2013, Ms. Ishag had established a stable life in Sudan and was

happily settled in Khartoum.

                                              Arrest

          24.   On or around September 2013, Ms. Ishag was at church and noticed that visitors

of the church asking members of the congregation about her and taking pictures of her and her

son.

          25.   She also started receiving phone calls from a man named Al Samani Al Hadi, who

claimed to be her brother, although she was not aware that she had a brother. The man asked to

meet her, but refused to come to Ms. Ishag’s home.

          26.   Ms. Ishag then received a phone call from the Sudanese police, who asked her to

come to the Hilat Koko Police Station. Ms. Ishag, Mr. Wani, and Mn. W. went to the police
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station as requested, where they met three police officers and the man identified as Mr. Al Hadi,

who claimed to be Ms. Ishag’s brother.

          27.   At this meeting, the police specifically asked Ms. Ishag about her religion. When

she informed them that she was Catholic, Mr. Al Hadi told the police officers that she should not

be Catholic, since her father was a Muslim.

          28.   Ms. Ishag, Mr. Wani and Mn. W. were allowed to go home, but they were called

back to the police station days later, on September 15, 2013. Ms. Ishag and Mr. Wani went

again, with Mn. W. This time, they were immediately taken to an interrogation room. A police

officer informed them that they were under arrest, and that they were accused of committing

adultery because their marriage was invalid.

          29.   Ms. Ishag, Mr. Wani and Mn. W. were held at the Hilat Koko police station and

were denied access to a lawyer. They were, however, able to secure bail.

          30.   Ms. Ishag’s trial was set for January 2014. On December 24, 2013, two weeks

before the trial, she was again taken into custody at the Haj Yossif police station. Mn. W. was

also taken into custody with her. During this time in custody, Ms. Ishag was denied access to a

lawyer.

          31.   Ms. Ishag and Mn. W. were held at the Haj Yossif police station until trial, when

they were transferred to Omdurman Women’s Prison.

                                 Detention and Birth of Ma. W.

          32.   The conditions of Ms. Ishag’s and Mn. W.’s detention were inhumane. They were

held in a small cell with up to 50 other prisoners, with only a small window and no fresh air. The

confined space and poor ventilation made it difficult to breathe. The cell was infested with

mosquitos and frogs. The prisoners in the cell were denied basic privacy.
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       33.      During their detention, Ms. Ishag and Mn. W. were without adequate fresh water

and were not given enough food to eat. The prison had one sink and bathroom. Ms. Ishag was

required to stand in line for use of the bathroom but, occasionally, was unable to actually use the

bathroom after standing in line. While in the cell at the police station, she was forced to use a

bucket as a commode inside of the cell and in front of other prisoners.

       34.      In prison, the guards would shackle Ms. Ishag, sometimes for up to three days at a

time. The shackles were heavy and painful. Mn. W. was with Ms. Ishag the entire time. Because

of the shackles, Ms. Ishag was unable to take care of her son properly. Mn.W. began to walk

while he and Ms. Ishag were in prison. The shackles prevented Ms. Ishag from caring for him,

playing with him, or from doing any of the normal activities a parent would do with a child.

       35.      Ms. Ishag constantly feared that Mn. W. would be taken from her. The prison was

filled with violent criminals, who threatened to take Mn. W. from her, to kill Ms. Ishag and Mn.

W., and to kill her unborn child. Ms. Ishag forced herself to stay awake out of fear that

something would happen to Mn. W. while she was asleep.

       36.      The prison guards continuously threatened and abused Ms. Ishag while she was in

prison. Even while pregnant, she was beaten with sticks, kicked, and spat upon. The guards did

not beat Mn. W., but he was present during and witnessed Ms. Ishag’s beatings, and was scared

tremendously.

       37.      The guards also threatened Ms. Ishag, and told her that if she would admit to

being a Muslim, she would get out of prison, but if she did not she would die.

       38.      Ms. Ishag was sent to solitary confinement three times, during which time she

was locked in a cell so small she could only stand or sit with her legs crossed. Mn. W. was
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separated from Ms. Ishag during these times. Ms. Ishag did not know who had her son and

feared he was not being cared for.

       39.     Mn. W. was sick continuously throughout his imprisonment with Ms. Ishag. His

health suffered because of the inhumane environment in which he and his mother were kept and

the fact that he was deprived of the care normally provided by a mother to a child.

       40.     Likewise, the unsanitary conditions were threatening to Ms. Ishag’s pregnancy.

Although there was a health clinic inside the prison, the clinic lacked basic medical supplies.

Ms. Ishag could not get sufficient pre-natal care.

       41.     Ms. Ishag went into labor three weeks prematurely. When she requested help, the

guards did not believe her. The guards called the prison midwife, who confirmed that Ms. Ishag

was in labor. During her labor, the prison was without electricity. The guards forced Ms. Ishag

to give birth while shackled to the floor. Ma. W was born on May 27, 2014.

       42.     Even after giving birth, Ms. Ishag was not allowed to leave for two days, during

which time she remained shackled.

                                               Trial

       43.     Ms. Ishag’s trial began on January 6, 2014 before the Second Magistrate Court.

On February 24, 2014, the Court charged her with a second crime, the crime of apostacy, because

she was alleged to have converted from Islam to Christianity. After the charge of apostacy was

added, the trial was held in the Haj Yossif General Court.

       44.     On May 11, 2014, Ms. Ishag was found guilty of both apostacy and adultery,

while Mr. Wani was found not guilty of the charge of adultery against him. She was sentenced to

death for apostacy and 100 lashes for her conviction of adultery.
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       45.     The judge informed Ms. Ishag that she had three days to renounce her Christian

faith and convert to Islam, or she would be sentenced to death. During the three days between

Ms. Ishag’s conviction and sentencing hearing, the court sent imams to meet with her at the

prison to try to convince Ms. Ishag to convert to Islam.

       46.     On May 22, 2014, Ms. Ishag appealed her conviction to the Court of Appeal. On

June 23, 2014, after almost six months of inhumane treatment and abuse at Omdurman Women’s

Prison for Ms. Ishag and her two children, Ms. Ishag’s conviction was overturned, and she and

her children were released.

                                           Post Prison

       47.     On the day of her release, the prison was surrounded by media and Islamic

extremists. The extremists threatened to kill Ms. Ishag and were protesting her release.

       48.     Ms. Ishag was unable to return home with Mn. W. and Ma. W. because her home

was also surrounded by extremists. She sought shelter first at St. Matthew’s Cathedral, and then

at the U.S. Embassy. Ms. Ishag, Mn. W., and Ma. W. were reunited with Mr. Wani at the U.S.

Embassy.

       49.     Because of the threats from violent extremists, Ms. Ishag and her family were

forced to flee Sudan, leaving behind their careers, property, and personal belongings.

       50.     The officials at the U.S. Embassy arranged for Ms. Ishag and her family’s

departure from Sudan. However, when they arrived at the airport, the whole family, including

Mn. W. and Ma. W., were arrested by intelligence agents from the Sudan National Intelligence

and Security Services (NISS).

       51.     The agents accused Ms. Ishag and her family of having fake travel documents.

The family was held and questioned for many hours, until the NISS agents said that if Ms. Ishag
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agreed to relinquish all her land and properties to the government of Sudan, they would allow her

and her family to leave and travel to the United States.

       52.     She was given a document to sign that released all her property to the Sudanese

government. Out of fear for her life and the lives of her family, Ms. Ishag signed the document.

However, the NISS agents refused to release the family, as they had promised.

       53.     Instead, Ms. Ishag and her family were held in a room, without air conditioning or

running water, for five hours in the heat of the summer, until they were transferred to the El

Shargi police station.

       54.     There, Ms. Ishag was charged with forgery and providing false information to the

authorities. Mr. Wani, Mn. W., and Ma. W. were released from custody, but Ms. Ishag was

detained another day and then released on bail.

       55.     During this time, Ms. Ishag, Mr. Wani, Mn. W., and Ma. W. stayed at the U.S.

Embassy. After a month, the Sudanese government agreed with the Italian government to allow

Ms. Ishag and her family to fly out of Sudan to Italy. The family was then able to travel from

Italy to the United States.


                                            COUNT ONE

                              Intentional Infliction of Emotional Distress
                                  and Solatium Damages for Mn. W.

       56.     Plaintiffs incorporate by reference paragraphs one through fifty-five of this

Complaint as if set forth herein.

       57.     Mn. W. is a U.S. citizen and was a U.S. citizen at all times relevant to this

complaint.
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       58.     Mn. W. is entitled to solatium damages caused by Sudan’s hostage taking,

pursuant to 28 U.S.C. § 1605A(c).

       59.     Sudan held Mn. W. captive for 181 days in Omdurman Women’s Prison with his

mother, Ms. Ishag.

       60.     Sudan engaged in hostage taking by detaining, continuing to detain, and

threatening to injure Mn. W. in order to exert influence over Ms. Ishag and to extract a

confession from her on the charges of adultery and apostacy and to coerce her to renounce her

Christian faith.

       61.     As a consequence of Sudan’s hostage-taking, Mn. W. suffered permanent physical

injury and has suffered severe and permanent psychological and emotional harm. He is entitled

to compensation for those physical injuries and to solatium damages pursuant to 28 U.S.C. §

1605A(c).

                                          COUNT TWO

                          Intentional Infliction of Emotional Distress
                              and Solatium Damages for Ma. W.

       62.     Plaintiffs incorporate by reference paragraphs one through fifty-five of this

Complaint as if set forth herein.

       63.     Ma. W. is a U.S. citizen and was a U.S. citizen at all times relevant to this

complaint.

       64.     Ma. W. is entitled to solatium damages caused by Sudan’s hostage taking,

pursuant to 28 U.S.C. § 1605A(c).

       65.     Sudan held Ma. W. captive at Omdurman Women’s Prison from the moment of

her birth on May 27, 2014 until Ms. Ishag’s release on June 23, 2014.
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       66.     Sudan engaged in hostage taking by detaining, continuing to detain, and

threatening to injure Ma. W. in order to exert influence over Ms. Ishag and to extract a

confession from her on the charges of adultery and apostacy and to coerce her to renounce her

Christian faith.

       67.     As a consequence of Sudan’s hostage-taking, Ma. W. suffered permanent physical

injury and has suffered severe and permanent psychological and emotional harm. She is entitled

to compensation for those physical injuries and is entitled to solatium damages pursuant to 28

U.S.C. § 1605A(c).

                                        COUNT THREE

                          Intentional Infliction of Emotional Distress
                           and Solatium Damages for Mariam Ishag

       68.     Plaintiffs incorporate by reference all prior paragraphs of this complaint.

       69.     Ms. Ishag is entitled to solatium damages because of Sudan’s intentionally

inflicted emotional distress upon Ms. Ishag through the hostage taking of Mn. W and Ma. W.,

who are Ms. Ishag’s children and immediate family members.

       70.     Sudan held Ms. Ishag and her minor child, Mn. W., captive for 181 days.

       71.     Sudan engaged in hostage taking by detaining, continuing to detain, and

threatening to kill or injure Mn. W. and, later, Ma. W. in order to exert influence on Ms. Ishag.

Sudan’s hostage taking was intended to extract confessions from Ms. Ishag on the charges of

adultery and apostacy; to coerce her to denounce her Christian faith; and to coerce her into

relinquishing valuable personal and real property rights to Sudan.

       72.     During Ms. Ishag’s captivity, Sudan intentionally inflicted emotional distress

upon Ms. Ishag by forcing her to witness the captivity and brutal treatment of her child, Ma. W.,

and to witness him be deprived of basic care and any semblance of an ordinary childhood. Ms.
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Ishag was physical present during this captivity and was forced to witness the effects upon Mn.

W. while being unable to help or comfort him.

        73.      This feeling of extreme distress at the treatment of her child, coupled with her

inability to help, inflicted severe mental and physical pain and suffering upon Ms. Ishag,

including the severe mental suffering caused by the threat of imminent death to herself and to her

children, Mn. W.

        74.      Furthermore, Sudan intentionally inflicted emotional distress on Ms. Ishag by

forcing her to give birth to Ma. W. while in captivity. Ma. W. was deprived of adequate pre-,

peri-, and post-natal care, and Ms. Ishag was forced to witness and experience this lack of care as

it took place.

        75.      Sudan’s conduct with regard to Ms. Ishag was extreme and outrageous, and was

intended to cause emotional distress to Ms. Ishag. By witnessing the mistreatment and lack of

care for her infant, coupled with her inability to rectify the situation, Ms. Ishag suffered severe

mental and physical pain and suffering, including the severe mental suffering caused by the

threat of imminent death to herself and to her children. Sudan’s conduct was the actual and

proximate cause of Ms. Ishag’s emotional distress.

        76.      Further, the captivity, the intentional infliction of emotional distress on her and

her witnessing the hostage taking of her children had lasting effects on Ms. Ishag’s marriage.

Both strained her relationship with Mr. Wani. They had to seek professional counseling and are

now divorced.

        77.      As a consequence of Sudan’s intentional infliction of emotional distress through

the torture and hostage taking of Mn. W. and Ma. W., Ms. Ishag suffered permanent physical

injuries and severe and permanent psychological and emotional harm and is entitled to
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compensation for those physical injuries and is entitled to solatium damages pursuant to 28

U.S.C. 1605A(c).

                                         COUNT FOUR

                   Punitive Damages for Mariam Ishag, Mn. W., and Ma. W.

       78.     Plaintiffs incorporate by reference all prior paragraphs of this complaint.

       79.     Plaintiffs, and each of them, are entitled to punitive damages under 28 U.S.C. §

1605A(c) for Sudan’s unlawful torture and hostage taking of Ms. Ishag, and for the unlawful

hostage taking of Mn.W. and Ma.W.

       80.     Sudan’s conduct in carrying out its unlawful torture and hostage taking was

outrageous, malicious, and in willful and wanton disregard of Plaintiffs’ rights. Accordingly,

Plaintiffs are entitled to punitive damages against Sudan.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the following damages and relief:

   a. Mn. W. is entitled to solatium damages for the intentional infliction of emotional distress

       suffered by Sudan’s hostage taking.

   b. Ma. W. is entitled to solatium damages for the intentional infliction of emotional distress

       suffered by Sudan’s hostage taking.

   c. Ms. Ishag is entitled to solatium damages for the intentional infliction of emotional

       distress suffered by Sudan’s torture and hostage taking.

   d. All Plaintiffs are entitled to punitive damages pursuant to 28 U.S.C. § 1605A(c).

   e. All Plaintiffs are entitled to their full costs and attorney’s fees as incidental damages.

   f. The Court should award such further relief as it deems just and proper.

   g. The damages for each of the plaintiffs are permanent and will continue into the future.
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                                 Respectfully submitted,


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